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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                 Southern District of New York

               CARRIBBEAN AIRMAIL, INC.                        )
                                                               )
                                                               )
                                                               )
                            Plaintiff(s)                       )
                                v.                             )       Civil Action No. 24-5302
                                                               )
 CHOICE MONEY TRANSFER, INC. d/b/a CHOICE                      )
MONEY TRANSFERS d/b/a SMALL WORLD MONEY
  TRANFSER d/b/a SMALL WORLD FINANCIAL                         )
 SERVICES GROUP d/b/a SMALLWORLDFS.COM                         )
                                                               )
                          Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) CHOICE MONEY T�NSFER, INC.
                                   70 Grand Avenue, Suite 104
                                   River Edge, NJ 07661




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                Stephen Nakamura
                                Merle, Brown & Nakamura, P.C.
                                 18 East 41st Street, Suite 1906
                                New York, New York 10007



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:     7/15/2024                                                          /s/ J. Gonzalez
                                                                                    Signature of Clerk or Deputy Clerk
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